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                                                       February 15, 2024



Hon. Joanna Seybert
United States District Court
Eastern District of New York
Federal Courthouse
Federal Plaza
Central Islip, NY 11720                  re: United States v. Marks
                                               23-CR-197
Dear Judge Seybert,

We write to request the court modify Ms. Mark’s bail conditions to permit her to
drive to Delaware on March 1 and return on March 3, 2024 to visit family friends.

The occasion is the 10th anniversary of her friend George Glew’s liver transplant.
Mr. and Ms. Glew are planning a small celebration. As Ms. Mark’s daughter was
born with liver cancer, she and Mr. Glew (who is her godfather) are particularly
close. It would mean a lot to her to be able to attend. They would be staying at
the Glew home, 71 W. Deer Trail Road, Clayton, DE

Ms. Sanchez from pre-trial services has no objection nor does AUSA Harris.
                                            Sincerely,

                                              PERINI & HOERGER


                                              MAUREEN S. HOERGER
